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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                               )
In re:                                                         ) Chapter 11
                                                               )
MEDLY HEALTH INC., et al.,1                                    ) Case No. 22-11257 (KBO)
                                                               )
                                    Debtors.                   ) (Jointly Administered)
                                                               )


    GLOBAL NOTES AND STATEMENTS OF LIMITATIONS, METHODOLOGY, AND
       DISCLAIMERS REGARDING DEBTORS’ SCHEDULES OF ASSETS AND
            LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                Medly Health, Inc. and its debtor affiliates in the above-captioned chapter 11 cases
filed on December 9, 2022, as debtors and debtors in possession (collectively, the “Debtors”), are
filing their respective Schedules of Assets and Liabilities (each, a “Schedule,” and collectively,
the “Schedules”) and Statements of Financial Affairs (each, a “Statement” and collectively, the
“Statements”) in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) pursuant to section 521 of title 11 of the United States Code (the
“Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the
“Bankruptcy Rules”).
                These Global Notes and Statements of Limitations, Methodology, and Disclaimer
Regarding Debtors’ Schedules of Assets and Liabilities and Statements of Financial Affairs (the
“Global Notes”) pertain to, and are incorporated by reference in, and comprise an integral part of
all of the Schedules and Statements. The Global Notes are in addition to the specific notes set forth
below with respect to the Schedules and Statements (the “Specific Notes,” and, together with the
Global Notes, the “Notes”). These Notes should be referred to, and referenced in connection with,
any review of the Schedules and Statements.
               The Schedules and Statements are unaudited and subject to potential adjustment. In
preparing the Schedules and Statements, the Debtors relied on financial data derived from their


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          The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: Medly
Health Inc. (3391); Care Well Pharmacy, Inc. (9048); Grubbs Care Pharmacy NW Inc. (0490); Marg Pharmacy, Inc.
(5838); Medly Atlanta Inc. (7312); Medly Baltimore Inc. (2354); Medly Bedford Ave Pharmacy Inc. (3690); Medly
Bristol Inc. (4556); Medly Bronx Inc. (4741); Medly Chicago Inc. (5231); Medly Dallas Inc. (7581); Medly DC Inc.
(9403); Medly Enterprise LLC (8898); Medly Grand Central Inc. (1741); Medly Houston Inc. (7443); Medly Jersey
City Inc. (5677); Medly Mail Service Pharmacy LLC (9203); Medly Miami Inc. (8101); Medly Orlando Inc. (7581);
Medly Pharmacy Inc. (4606); Medly Pharmacy PA Inc. (8494); Medly Pittsburgh Inc. (8381); Medly Queens Inc.
(9623); Medly Raleigh Inc. (5140); Medly San Antonio Inc. (9973); Medly Stamford Inc. (4966); Medly Tampa Inc.
(5128); Medly UCHC Pharmacy Inc. (6672); Medly Utah Inc. (4648); Pharmaca Integrative Pharmacy, Inc. (0334);
Tango340B LLC (4781); West Campbell Pharmacy Inc. (2931); Khora Health Solutions Inc. (2909); and RPH
Innovations LLC (3767). The Debtors’ business address is 7088 Winchester Circle, Suite 100, Boulder CO 80301.


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books and records that was available at the time of preparation. The Debtors have made reasonable
efforts to ensure that the Schedules and Statements are as accurate and complete as possible under
the circumstances; however, subsequent information or discovery may result in material changes
to the Schedules and Statements and errors or omissions may exist.
                The Debtors reserve all rights to amend or supplement the Schedules and
Statements from time to time, in all respects, as may be necessary or appropriate, including the
right to dispute or otherwise assert offsets or defenses to any claim reflected on the Schedules and
Statements as to amount, liability, classification, identity of Debtor, or to otherwise subsequently
designate any claim as “disputed,” “contingent,” or “unliquidated.” Furthermore, nothing
contained in the Schedules, Statements, or Notes shall constitute a waiver of any of the Debtors’
rights or an admission with respect to their chapter 11 cases, including any issues involving
objections to claims, substantive consolidation, equitable subordination, defenses, characterization
or recharacterization of contracts and leases, assumption or rejection of contracts and leases under
the provisions of chapter 3 of the Bankruptcy Code, causes of action arising under the provisions
of chapter 5 of the Bankruptcy Code, or any other relevant applicable laws to recover assets or
avoid transfers.


    A. Global Notes and Overview of Methodology

             The Schedules, Statements, and Notes should not be relied upon by any
persons for information relating to current or future financial conditions, events, or
performance of any of the Debtors or their affiliates.

       1.      Description of the Chapter 11 Cases. On December 9, 2022 (the “Petition
Date”), each of the Debtors commenced a voluntary case under chapter 11 of the Bankruptcy
Code. On December 12, 2022, the Bankruptcy Court entered an order authorizing the joint
administration of the chapter 11 cases pursuant to Bankruptcy Rule 1015(b) [Docket No. 44].2
Notwithstanding the joint administration of the Debtors’ cases for procedural purposes, each
Debtor has filed its own Schedules and Statements.

        2.      Basis of Presentation. In the ordinary course of business, the Debtors prepare
consolidated financial statements for financial reporting purposes on a monthly basis. The
Schedules and Statements are unaudited and are the result of the Debtors’ reasonable efforts to
report certain financial information of each Debtor on an unconsolidated basis. The Schedules and
Statements neither purport to represent financial statements prepared in accordance with Generally
Accepted Accounting Principles in the United States (“GAAP”), nor are they intended to be fully
reconciled with the financial statements of each Debtor. The Debtors used reasonable efforts to

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    On December 28, 2022, Debtor affiliates Khora Health Solutions Inc. (“Khora”) and RPH Innovations LLC
    (“RPHI”) also commenced voluntary cases under chapter 11 of the Bankruptcy Code. Pursuant to the Order (A)
    Directing Joint Administration of Related Chapter 11 Cases for Procedural Purposes Only and (B) Applying
    Certain Orders in the Chapter 11 Cases of Medly Health, Inc. and Its Affiliated Debtors to the Chapter 11 Cases
    of Khora Health Solutions Inc. and RPH Innovations LLC [Docket No. 152] entered on January 4, 2023, the cases
    of Khora and RPHI are now jointly administered with the cases of the Debtors. The Schedules and Statements
    for Khora and RPHI will be filed at a later date.


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attribute the assets and liabilities, certain required financial information, and various cash
disbursements to each particular Debtor entity. Because the Debtors’ accounting systems, policies,
and practices were developed for consolidated reporting purposes rather than for reporting by legal
entity, however, it is possible that not all assets and liabilities have been recorded with the correct
legal entity on the Schedules and Statements.

        3.      Reporting Date. Unless otherwise noted in specific responses, the Schedules and
Statements reflect the Debtors’ books and records as of the close of business on December 9, 2022,
or the latest available record date before then.

       4.      Current Values. The assets and liabilities of each Debtor are listed on the basis of
the book value of the asset or liability in the respective Debtor’s accounting books and records.
Unless otherwise noted, the carrying value on each of the Debtor’s books, rather than the current
market value, is reflected in the Schedules and Statements.

        5.      Confidentiality. There may be instances when personal information was not
included or was redacted due to the nature of an agreement between a Debtor and a third party or
concerns or to protect the privacy of an individual. Pursuant to the Order: (I) Authorizing the
Debtors to: (A) File a Consolidated List of Creditors In Lieu of Submitting a Separate Mailing
Matrix For Each Debtor, (B) File a Consolidated List of the Debtors' Thirty Largest Unsecured
Creditors, and (C) Redact Certain Personally Identifiable Information For Individual Creditors;
and (II) Granting Related Relief [Docket No. 57], the Debtors are authorized to redact personally
identifiable information from their Schedules and Statements. Further, pursuant to Order (Interim)
Authorizing Certain Procedures to Maintain Confidentiality of Patient Information as Required
by Applicable Privacy Rules [Docket No. 61], the Debtors are also authorized to maintain the
confidentiality of patient information as required by the Health Insurance Portability and
Accountability Act of 1996.

        6.     Consolidated Entity Accounts Payable and Disbursement Systems. As
described in the Motion to Maintain Bank Accounts Debtors' Motion for Entry of Interim and Final
Orders Authorizing the Debtors to (A) Continue Operating Cash Management System, (B) Honor
Certain Prepetition Obligations Related Thereto, (C) Maintain Existing Business Forms, and (D)
Granting Related Relief [Docket No. 7] (the “Cash Management Motion”), the Debtors utilize a
centralized cash management system in the ordinary course of business to collect, concentrate, and
disburse funds generated by their operations. In the ordinary course of business, the Debtors
maintained business relationships among each other, which result in intercompany receivables and
payables (the “Intercompany Claims”) arising from intercompany transactions (the
“Intercompany Transactions”). Additional information regarding the Intercompany Claims and
Intercompany Transactions is described in the Cash Management Motion. Unless otherwise noted,
the Debtors have reported the aggregate net intercompany balances among the Debtors as assets
on Schedule A/B or as liabilities on Schedule E/F, as appropriate.

        7.     Accuracy. The financial information disclosed herein was not prepared in
accordance with federal or state securities laws or other applicable non-bankruptcy law or in lieu
of complying with any periodic reporting requirements thereunder. Persons and entities trading in
or otherwise purchasing, selling, or transferring the claims against or equity interests in the Debtors
should evaluate this financial information in light of the purposes for which it was prepared.

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       8.      Undetermined Amounts. Claim amounts that could not readily be quantified by
the Debtors are scheduled as “undetermined,” “unknown,” or “N/A.” The description of an amount
as “undetermined,” “unknown,” or “N/A” is not intended to reflect upon the materiality of the
amount.

        9.     Liabilities. The Debtors have sought to allocate liabilities between the prepetition
and postpetition periods based on the information and research conducted in connection with the
preparation of the Schedules and Statements. As additional information becomes available and
further research is conducted, the allocation of liabilities between the prepetition and postpetition
periods may change. Accordingly, the Debtors reserve all of their rights to amend, supplement, or
otherwise modify the Schedules and Statements as is necessary or appropriate.

        10.     Insiders. For purposes of the Schedules and Statements, the Debtors define
“insiders” pursuant to section 101(31) of the Bankruptcy Code as: (a) directors; (b) officers; (c)
persons in control of the Debtors; (d) relatives of the Debtors’ directors, officers, or persons in
control of the Debtors; and (e) debtor/non-Debtor affiliates of the foregoing. Persons listed as
“insiders” have been included for informational purposes only and by including them in the
Schedules, shall not constitute an admission that those persons are insiders for purposes of section
101(31) of the Bankruptcy Code. Moreover, the Debtors do not take any position with respect to:
(a) any insider’s influence over the control of the Debtors; (b) the management responsibilities or
functions of any such insider; (c) the decision making or corporate authority of any such insider;
or (d) whether the Debtors or any such insider could successfully argue that he or she is not an
“insider” under applicable law or with respect to any theories of liability or for any other purpose.
The listing of a party as an “insider” is not intended to be nor should be construed as a legal
characterization of such party as an insider and does not act as an admission of any fact, Claim,
right, or defense, and all such rights, Claims, and defenses are hereby expressly reserved.

         11.   Totals. All totals that are included in the Schedules and Statements represent totals
of all the known amounts included in the Schedules and Statements and exclude items identified
as “unknown” or “undetermined.” If there are unknown or undetermined amounts, the actual totals
may be materially different from the listed totals.

       12.    Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
unless otherwise indicated.

        13.      Payment of Prepetition Claims Pursuant to First Day Orders. The Debtors have
requested authority to pay certain outstanding prepetition claims pursuant to orders entered by this
court after the initial hearing in these cases (collectively, the “First Day Orders”). The Schedules
and Statements reflect the Debtors’ outstanding liabilities in their amounts owed as of the Petition
Date without reducing liabilities on account of any payments authorized under the First Day
Orders. If liabilities on account of prepetition wages and benefits have been satisfied in full, they
are not listed on the Schedules and Statements unless otherwise noted.

       14.     Other Paid Claims. If the Debtors have reached any postpetition settlement with
a vendor or other creditor, the terms of such settlement will prevail, supersede amounts listed in
the Schedules and Statements, and shall be enforceable by all parties.



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        15.     Setoffs. The Debtors routinely incurred certain setoffs from customers and
suppliers in the ordinary course of business. Setoffs in the ordinary course can result from various
items including pricing discrepancies, customer programs, returns, and other disputes between the
Debtors and their customers or suppliers. In the ordinary course of business, the Debtors would
setoff invoices with credit memos. These routine setoffs were consistent with the ordinary course
of business in the Debtors’ industry, and, therefore, were particularly voluminous, unduly
burdensome, and costly for the Debtors to regularly document. Therefore, although such setoffs
and other similar rights may have been accounted for when scheduling certain amounts, these
ordinary course setoffs are not always independently accounted for, and may be excluded from the
Schedules and Statements.

       16.     Debtors’ Reservation of Rights. Nothing contained in the Schedules, Statements,
or Notes shall constitute a waiver of rights with respect to these chapter 11 cases, including the
following:

                 a. Any failure to designate a claim listed on the Schedules and Statements as
                    “disputed,” “contingent,” or “unliquidated” does not constitute an admission by
                    the Debtors that such amount is not “disputed,” “contingent,” or “unliquidated.”
                    The Debtors reserve the right to dispute and to assert setoff rights,
                    counterclaims, and defenses to any claim reflected on the Schedules as to
                    amount, liability, and classification, and to otherwise subsequently designate
                    any claim as “disputed,” “contingent,” or “unliquidated.”

                 b. Notwithstanding that the Debtors have made reasonable efforts to correctly
                    characterize, classify, categorize, or designate certain claims, assets, executory
                    contracts, unexpired leases, and other items reported in the Schedules and
                    Statements, the Debtors nonetheless may have improperly characterized,
                    classified, categorized, or designated certain items. The Debtors thus reserve all
                    rights to recharacterize, reclassify, recategorize, or redesignate items reported
                    in the Schedules and Statements at a later time as is necessary and appropriate.

                 c. The listing of a claim or agreement (i) on Schedule D as “secured,” (ii) on
                    Schedule E/F (Part 1) as “priority,” (iii) on Schedule E/F (Part 2) as
                    “unsecured,” or (iv) on Schedule G as “executory” or “unexpired” does not
                    constitute an admission by the Debtors of the legal rights of the claimant, the
                    executory nature of the agreement under section 365 of the Bankruptcy Code,
                    or a waiver of the Debtors’ rights to recharacterize or reclassify such claim or
                    agreement pursuant to a schedule amendment, claim objection or otherwise.
                    Moreover, although the Debtors may have scheduled claims of various creditors
                    as secured claims for informational purposes, no current valuation of the
                    Debtors’ assets in which such creditors may have a security interest has been
                    undertaken. Except as provided in an order of the Bankruptcy Court, the
                    Debtors reserve all rights to dispute and challenge the secured nature or amount
                    of any such creditor’s claims or the characterization of the structure of any
                    transaction, or any document or instrument related to such creditor’s claim.




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                 d. In the ordinary course of their businesses, the Debtors leased equipment and
                    other assets from certain third-party lessors for use in their daily operations. The
                    Debtors have made commercially reasonable efforts to list any such leases in
                    Schedule G, and any current amounts due under such leases that were
                    outstanding as of the Petition Date are listed on Schedule E/F. Except as
                    otherwise noted herein, the property subject to any such lease is not reflected in
                    Schedule A/B as either owned property or an asset of the Debtors, and neither
                    is such property or assets of third parties within the control of the Debtors
                    Nothing in the Schedules is or shall be construed as an admission or
                    determination as to the legal status of any lease (including whether any lease is
                    a true lease or a financing arrangement), and the Debtors reserve all rights with
                    respect to any of such issues, including the recharacterization thereof.

                 e. The claims of individual creditors for, among other things, goods, products,
                    services or taxes are listed as the amounts entered on the Debtors’ books and
                    records and may not reflect credits, allowances or other adjustments due from
                    such creditors to the Debtors. The Debtors reserve all of their rights with regard
                    to such credits, allowances and other adjustments, including the right to assert
                    claims objections or setoffs with respect to the same.

                 f. The Debtors’ businesses were part of a complex enterprise. Although the
                    Debtors have exercised their reasonable efforts to ensure the accuracy of their
                    Schedules and Statements, they nevertheless may contain errors and omissions.
                    The Debtors hereby reserve all of their rights to dispute the validity, status, and
                    enforceability of any contracts, agreements, and leases identified in the
                    Schedules and Statements, and to amend and supplement the Schedules and
                    Statements as necessary.

                 g. The Debtors further reserve all of their rights, claims, and causes of action with
                    respect to the contracts and agreements listed on the Schedules and Statements,
                    including the right to dispute and challenge the characterization or the structure
                    of any transaction, document, and instrument related to a creditor’s claim.

                 h. The Debtors exercised their reasonable efforts to locate and identify guarantees
                    and other secondary liability claims (the “Guarantees”) in their executory
                    contracts, unexpired leases, secured financings, debt instruments, and other
                    agreements. If such Guarantees have been identified, they are included in the
                    relevant Schedules and Statements. Guarantees embedded in the Debtors’
                    executory contracts, unexpired leases, secured financings, debt instruments, and
                    other agreements may have been omitted inadvertently. Thus, the Debtors
                    reserve their rights to amend and supplement the Schedules and Statements if
                    additional Guarantees are identified. In addition, the Debtors reserve the right
                    to amend the Schedules and Statements to re-characterize and reclassify any
                    such contract or claim.

       17.    Global Notes Control. If the Schedules or Statements differ from any of the
foregoing Global Notes, the Global Notes shall control.

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    B. Specific Notes for Schedules

        1.       Schedule A/B.

                 a. A/B.3. The values provided for in Schedule A/B, Item 3 for each account for a
                    given Debtor reflects the ending cash balance of such account as of the Petition
                    Date.

                 b. A/B.7. Deposits listed are potentially subject to offset by counterparty.

                 c. A/B.70–77. Despite exercising commercially reasonable efforts to identify all
                    known assets, the Debtors may not have listed all of their causes of action or
                    potential causes of action against third parties as assets in their Schedules.

        2.      Schedule D. Certain of the claims listed on Schedule D, as well as the Guarantees
of those claims listed on Schedule H, arose and were incurred on various dates; a determination of
the date upon which each claim arose or was incurred would be unduly burdensome and cost
prohibitive. Accordingly, not all of these dates are included for each such claim. To the best of the
Debtors’ knowledge, all claims listed on Schedule D arose or were incurred before the Petition
Date. The amounts in Schedule D are consistent with the Debtors’ stipulations set forth in the
Motion for Entry of Interim and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364
and 507 (I) Authorizing Debtors to Obtain Secured Superpriority Postpetition Financing, (II)
Granting Priming Liens and Superpriority Administrative Expenses Status, (III) Authorizing the
Use of Cash Collateral, (IV) Granting Adequate Protection, (V) Scheduling a Final Hearing, and
(VI) Granting Related Relief [Docket No. 14] (the “DIP Financing Motion”), which are subject
to investigation and challenge by the Official Committee of Unsecured Creditors or other parties
in interest.

               Except as otherwise agreed to or stated pursuant to a stipulation or order entered by
the Bankruptcy Court that is or becomes final, including any final order approving the DIP
Financing Motion, the Debtors and their estates and, subject to the foregoing limitations, note as
follows: (a) although the Debtors may have scheduled claims of various creditors as secured
claims for informational purposes, no current valuation of the Debtors’ assets in which such
creditors may have a lien has been undertaken; (b) the descriptions provided on Schedule D only
are intended to be a summary; and (c) the Debtors have not included on Schedule D claims that
were secured by property for which the collateral was not in the Debtors’ possession as of the
Petition Date.

              Reference to the applicable loan agreements and related documents is necessary for
a complete description of the collateral and the nature, extent, and priority of any liens.

                 In addition to funded debt obligations, the Debtors have also listed on Schedule D
potential claims relating to leased equipment still in the Debtors’ possession on the Petition Date.
The Debtors have filed a motion with the court to reject certain leases, including equipment leases,
as of the Petition Date. These claims are listed as ‘undetermined’ amounts, and are contingent and
unliquidated, noting their potential security interest relates to their interest in the leased equipment.

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               Except as specifically stated herein, real property lessors, equipment lessors, utility
companies, and other parties which may hold security deposits or other security interests have not
been listed on Schedule D.

               The Debtors have not listed on Schedule D any parties whose claims may be
secured through rights of setoff, deposits, or advance payments posted by, or on behalf of, the
Debtors, or judgment or statutory lien rights.

        3.       Schedule E/F

                 a.          Part 1.

               Certain of the claims listed on Schedule E/F (Part 1) arose and were incurred on
multiple dates; a determination of the date upon which each claim arose or was incurred would be
unduly burdensome and cost prohibitive. Accordingly, not all of these multiple dates are included
for each such claim.

               The liabilities listed on Schedule E/F (Part 1) do not reflect any analysis of such
claims under sections 503 or 507 of the Bankruptcy Code. The Debtors reserve the right to dispute
or challenge whether creditors listed on Schedule E/F are entitled to priority status pursuant to
sections 503 or 507 of the Bankruptcy Code.

                Claims owing to various taxing authorities to which the Debtors potentially may be
liable are included on the Debtors’ Schedule E/F. Certain of such claims, however, may be subject
to ongoing audits or the Debtors otherwise are unable to determine with certainty the amount of
the remaining claims listed on Schedule E/F. Therefore, the Debtors have listed all such claims as
contingent, pending final resolution of ongoing audits or other outstanding issues.

                 b.          Part 2.

                 The Debtors have exercised their commercially reasonable efforts to list all
liabilities on Schedule E/F of each applicable Debtor. As a result of the Debtors’ consolidated
operations, however, the reader should review Schedule E/F for all Debtors in these cases for a
complete understanding of the unsecured debts of the Debtors. Certain creditors listed on Schedule
E/F may owe amounts to the Debtors, and, as such, the Debtors may have valid setoff and
recoupment rights with respect to such amounts. The amounts listed on Schedule E/F may not
reflect any such right of setoff or recoupment, and the Debtors reserve all rights to assert the same
and to dispute and challenge any setoff or recoupment rights that may be asserted against the
Debtors by a creditor. Additionally, certain creditors may assert mechanic’s, materialman’s, or
other similar liens against the Debtors for amounts listed on Schedule E/F. The Debtors reserve
their rights to dispute and challenge the validity, perfection, and immunity from avoidance of any
lien purported to be perfected by a creditor listed on Schedule E/F of any Debtor. In addition,
certain claims listed on Schedule E/F (Part 2) may be entitled to priority under section 503(b)(9)
of the Bankruptcy Code.

              The Debtors have included trade creditors and taxing authorities on Schedule E/F,
some of whose claims may have been satisfied, in whole or in part, pursuant to the First Day
Orders. Notwithstanding the foregoing, the Debtors have reflected the prepetition liabilities of such

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trade creditors and taxing authorities as of the Petition Date. Moreover, Schedule E/F does not
include certain balances including deferred liabilities, accruals, or general reserves. The accruals
primarily represent general estimates of liabilities and do not represent specific claims as of the
Petition Date. The Debtors have made reasonable efforts to include as contingent, unliquidated, or
disputed the claim of any party not included on the Debtors’ open accounts payable that is
associated with an account that has an accrual or receipt not invoiced.

               Intercompany payables among the Debtors are reported on Schedule E/F, per the
Debtors’ books and records, which may or may not result in allowed or enforceable claims by or
against a given Debtor. The intercompany payables also may be subject to recoupment, netting, or
other adjustments made pursuant to customary intercompany policies and practices not reflected
in the Schedules.

                To the extent practicable, Schedule E/F is intended to reflect the balance as of the
Petition Date. Despite the Debtors’ reasonable best efforts, to the extent an unsecured claim has
been paid or may be paid, it is possible such claim is not included on Schedule E/F. Certain Debtors
may pay additional claims listed on Schedule E/F during these chapter 11 cases pursuant to these
and other orders of the Bankruptcy Court and the Debtors reserve all of their rights to update
Schedule E/F to reflect such payments or to modify the claims register to account for the
satisfaction of such claim. Additionally, Schedule E/F does not include any potential rejection
damage claims of the counterparties to executory contracts and unexpired leases that may be
rejected.

        4.       Schedule G. Although reasonable efforts have been made to ensure the accuracy
of Schedule G regarding executory contracts and unexpired leases (collectively, the
“Agreements”), review is ongoing and inadvertent errors, omissions or overinclusion may have
occurred. The Debtors may have entered into various other types of Agreements in the ordinary
course of their businesses, such as indemnity agreements, supplemental agreements, and
amendments/letter agreements that may not be set forth in Schedule G. In addition, as described
herein, certain nondisclosure agreements or other confidential information have been omitted, as
well as certain short-term purchase and sales orders given their large number and transitory nature.
The Agreements listed on Schedule G may have expired or may have been modified, amended, or
supplemented from time to time by various amendments, restatements, waivers, estoppel
certificates, letter and other documents, instruments and agreements that may not be listed on
Schedule G. Executory agreements that are oral in nature have not been included in Schedule G.
Certain of the Agreements listed on Schedule G may have been entered into on behalf of more
than one of the Debtors.

        5.      Schedule H. The Debtors are party to certain prepetition secured credit agreements
which were executed by multiple Debtors. The obligations of guarantors under the prepetition
secured credit agreements are noted on Schedule H for each individual debtor. Furthermore, the
Debtors may not have identified certain guarantees that are embedded in the Debtors’ executory
contracts, unexpired leases, secured financings, debt instruments and other such agreements. No
claim set forth on the Schedules and Statements of any Debtor is intended to acknowledge claims
of creditors that are otherwise satisfied or discharged by other Debtors.




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    C. Specific Notes for Statements

        1.      Statement 3. The payments disclosed in Statement 3 are based on payments made
by the Debtors with payment dates from September 10, 2022 to December 9, 2022. The actual
dates that cash cleared the Debtors’ bank accounts may differ based on the form of payment. The
Debtors’ accounts payable system does not include the corresponding payment clear dates and
compiling this data would have required a time-consuming manual review of individual bank
statements. It is expected, however, that many payments included in Statement 3 have payment
clear dates that are the same as payment dates (e.g., wires and other forms of electronic payments).

        2.     Statement 5. On occasion, the Debtors may return goods to vendors or suppliers in
the ordinary course of business. These are listed in Schedule 5, along with all returns of goods to
vendors and suppliers.

        3.     Statement 6. The Debtors maintained certain customer programs, including return
and refund programs pursuant to which customers may receive credits. In the ordinary course of
business, the Debtors accrued certain payables to customers in the form of rebates and other
incentives. These have not been listed on Schedule 6. The items listed in Statement 6 are instances
where the Debtors specifically allowed and agreed to an offset of the Debtor’s accounts payable
against the Debtor’s accounts receivable.

        4.      Statement 7. The Debtors have used reasonable efforts to report all legal actions,
proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in
which the Debtors were involved in any capacity within one year before the Petition Date. The
Debtors reserve their rights to assert that neither the Debtors nor any affiliate of the Debtors is an
appropriate party to such actions or proceedings. The Debtors are working with their insurance
carriers to obtain details relating to workers’ compensation, auto and general liability claims and
will supplement the Statement when received.

        5.     Statement 10. Amounts listed herein were for events that were reported or tracked
for insurance purposes. De minimis losses are not separately tracked by the Debtors and were not
included on Statement 10.

        6.      Statement 11. The Debtors have used reasonable efforts to identify payments for
services of any entities who provided consultation concerning debt counseling or restructuring
services, relief under the Bankruptcy Code or preparation of a petition in bankruptcy within one
year immediately before the Petition Date, which are identified in the Debtors’ response to
Statement 11. Additional information regarding the Debtors’ retention of professional service
firms is and will be more fully described in the individual retention applications for those firms
and any related orders.

        7.      Statement 26(d). Over the past two years, the Debtors have provided their financial
statements via physical and electronic mail to various parties in the ordinary course of business,
including current or potential secured lenders, government entities, shareholders, customers, and
other interested parties. Professionals retained by the Debtors prior to the Petition Date also ran a
comprehensive marketing and sale process and disclosed substantial financial information to
numerous interested parties. Parties provided with historical financial information as part of the

                                                 10
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Debtors’ marketing and sale process have not been listed on Statement 26(d). Recipients of
financial information generally received consolidated accounts for the Debtors.

        8.       Statement 30. The Debtors believe Statement 30 is also covered by Statement 4.




                                                 11
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                              Case 22-11280-KBO                    Doc 4           Filed 01/09/23       Page 12 of 79




Fill in this information to identify the case:

Debtor name         Medly UCHC Pharmacy Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)    22-11280
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       January 8, 2023                 X /s/ Richard S. Willis
                                                           Signature of individual signing on behalf of debtor

                                                            Richard S. Willis
                                                            Printed name

                                                            Chief Executive Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                        Case 22-11280-KBO                                     Doc 4               Filed 01/09/23                        Page 13 of 79

Fill in this information to identify the case:

Debtor name           Medly UCHC Pharmacy Inc.

United States Bankruptcy Court for the:                      DISTRICT OF DELAWARE

Case number (if known)              22-11280
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           111,461.94

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           111,461.94


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $     101,171,503.68


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           269,595.54


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $        101,441,099.22




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         Medly UCHC Pharmacy Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)       22-11280
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number
                                                                     Medly UCHC Analysis
          3.1.     Silicon Valley Bank                               Checking                              xxxxxx4863                                       $0.00



                                                                     Medly UCHC Cash
          3.2.     Silicon Valley Bank                               Collateral                            xxxxxx7034                                       $0.00




          3.3.     Silicon Valley Bank                               Medly UCHC Operating                  xxxxxx9723                                       $0.00




          3.4.     Silicon Valley Bank                               Medly UCHC Payroll                    xxxxxx9738                                       $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
                               Case 22-11280-KBO                  Doc 4         Filed 01/09/23            Page 15 of 79

Debtor           Medly UCHC Pharmacy Inc.                                                   Case number (If known) 22-11280
                 Name



7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit

8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


          8.1.     Micro Merchant Systems Inc.                                                                                          $13,051.94




9.        Total of Part 2.                                                                                                          $13,051.94
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                     40,930.08      -                             26,247.48 = ....                   $14,682.60
                                       face amount                            doubtful or uncollectible accounts




          11b. Over 90 days old:                        30,196.52      -                           30,196.52 =....                            $0.00
                                       face amount                            doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                          $14,682.60
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used    Current value of
                                             physical inventory            debtor's interest         for current value        debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          Finished Goods                     September 2022                         $53,256.08       NBV                                $53,256.08



22.       Other inventory or supplies


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 2
                               Case 22-11280-KBO                   Doc 4        Filed 01/09/23          Page 16 of 79

Debtor       Medly UCHC Pharmacy Inc.                                                       Case number (If known) 22-11280
             Name


23.       Total of Part 5.                                                                                                          $53,256.08
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture

40.       Office fixtures
          Leasehold Improvements                                                   $27,120.44       NBV                                 $22,976.15



41.       Office equipment, including all computer equipment and
          communication systems equipment and software

42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                             $22,976.15
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
                             Case 22-11280-KBO                    Doc 4      Filed 01/09/23              Page 17 of 79

Debtor       Medly UCHC Pharmacy Inc.                                                    Case number (If known) 22-11280
             Name



          General description                                          Net book value of             Valuation method used    Current value of
          Include year, make, model, and identification numbers        debtor's interest             for current value        debtor's interest
          (i.e., VIN, HIN, or N-number)                                (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Equipment                                                               $7,495.17          NBV                                  $7,495.17



51.       Total of Part 8.                                                                                                            $7,495.17
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and             Net book value of             Valuation method used   Current value of
          property                              extent of              debtor's interest             for current value       debtor's interest
          Include street address or other       debtor's interest      (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1. Real Property Lease -
                   961 West 2nd St.
                   Business Depot -
                   Ogden UT                     Lessor                            Unknown                                                Unknown




56.       Total of Part 9.                                                                                                                  $0.00
          Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
          Copy the total to line 88.

57.       Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes

58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                              page 4
                               Case 22-11280-KBO                  Doc 4       Filed 01/09/23            Page 18 of 79

Debtor        Medly UCHC Pharmacy Inc.                                                     Case number (If known) 22-11280
              Name


              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used     Current value of
                                                                        debtor's interest          for current value         debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties
           See Attachment B.62 for details                                         Unknown                                              Unknown



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                               $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

           Various insurance policies                                                                                                   Unknown

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 5
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Debtor      Medly UCHC Pharmacy Inc.                                                Case number (If known) 22-11280
            Name




74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims

76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                            $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                    page 6
                                     Case 22-11280-KBO                              Doc 4            Filed 01/09/23                 Page 20 of 79

Debtor          Medly UCHC Pharmacy Inc.                                                                            Case number (If known) 22-11280
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $13,051.94

82. Accounts receivable. Copy line 12, Part 3.                                                                     $14,682.60

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                               $53,256.08

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $22,976.15

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $7,495.17

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $111,461.94           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $111,461.94




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 7
                                               Case 22-11280-KBO           Doc 4   Filed 01/09/23   Page 21 of 79
Attachment B.62
Licenses, franchises and royalites


              Debtor                                        Licensing Agency                                License Type       LICENSE #    Expiration
 Medly UCHC Pharmacy Inc.            DEA                                                            CMEA                   220285752       4/30/2023
 Medly UCHC Pharmacy Inc.            DEA                                                            DEA                    FM9931317       1/31/2024
 Medly UCHC Pharmacy Inc.            New York State Education Department                            PHAR                   38195           12/31/2023
                                     Case 22-11280-KBO                    Doc 4          Filed 01/09/23          Page 22 of 79

Fill in this information to identify the case:

Debtor name         Medly UCHC Pharmacy Inc.

United States Bankruptcy Court for the:           DISTRICT OF DELAWARE

Case number (if known)             22-11280
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
      Eight Roads Ventures India
2.1                                                                                                                         Unknown                  Unknown
      III LP                                       Describe debtor's property that is subject to a lien
      Creditor's Name                              All personal property of the Debtor
      Pembroke Hall
      42 Crow Lane
      Hamilton HM19 BMU
      Creditor's mailing address                   Describe the lien
                                                   UCC-1 Filing
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



      F-Prime Capital Partners
2.2                                                Describe debtor's property that is subject to a lien                     Unknown                  Unknown
      Health
      Creditor's Name                              All personal property of the Debtor
      and Services Fund II LP
      1 Main Street
      13th Floor
      Cambridge, MA 02142
      Creditor's mailing address                   Describe the lien
                                                   UCC-1 Filing
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number


Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 5
                                    Case 22-11280-KBO                    Doc 4          Filed 01/09/23          Page 23 of 79

Debtor      Medly UCHC Pharmacy Inc.                                                              Case number (if known)    22-11280
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Greycroft ACI Evolution
2.3                                                                                                                        Unknown     Unknown
      Fund I, L.P.                                Describe debtor's property that is subject to a lien
      Creditor's Name                             All personal property of the Debtor
      c/o Greycroft
      292 Madison Ave.
      Floor 8
      New York, NY 10017
      Creditor's mailing address                  Describe the lien
                                                  UCC-1 Filing
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Greycroft Partners V, L.P.                  Describe debtor's property that is subject to a lien                     Unknown     Unknown
      Creditor's Name                             All personal property of the Debtor
      c/o Greycroft
      292 Madison Ave.
      Floor 8
      New York, NY 10017
      Creditor's mailing address                  Describe the lien
                                                  UCC-1 Filing
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   HTC Global Services, Inc.                   Describe debtor's property that is subject to a lien                     Unknown     Unknown
      Creditor's Name                             All personal property of the Debtor
      3270 West Big Beaver Road
      Troy, MI 48084

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                       page 2 of 5
                                    Case 22-11280-KBO                    Doc 4          Filed 01/09/23          Page 24 of 79

Debtor      Medly UCHC Pharmacy Inc.                                                              Case number (if known)    22-11280
            Name

      Creditor's mailing address                  Describe the lien
                                                  UCC-1 Filing
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   Lindenwood Health, Inc.                     Describe debtor's property that is subject to a lien                     Unknown     Unknown
      Creditor's Name                             All personal property of the Debtor
      192 Geldner Avenue
      Staten Island, NY 10306
      Creditor's mailing address                  Describe the lien
                                                  UCC-1 Filing
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Prysm Capital Fund 1, L.P.                  Describe debtor's property that is subject to a lien                     Unknown     Unknown
      Creditor's Name                             All personal property of the Debtor
      c/o Prysm Capital
      188 Nassau Street
      Princeton, NJ 08542
      Creditor's mailing address                  Describe the lien
                                                  UCC-1 Filing
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                       page 3 of 5
                                    Case 22-11280-KBO                    Doc 4          Filed 01/09/23          Page 25 of 79

Debtor      Medly UCHC Pharmacy Inc.                                                              Case number (if known)    22-11280
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.8   Silicon Valley Bank                         Describe debtor's property that is subject to a lien               $19,861,905.31    Unknown
      Creditor's Name                             All assets of the Debtor.
      3003 Tasman Drive, HF 150
      Santa Clara, CA 95054
      Creditor's mailing address                  Describe the lien
                                                  Loan and Security Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      11/1/2019                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Triplepoint Venture Growth
2.9                                                                                                                  $81,309,598.37    Unknown
      BDC Corp.                                   Describe debtor's property that is subject to a lien
      Creditor's Name                             All personal property of Debtor.
      2755 Sand Hill Road
      Suite 150
      Menlo Park, CA 94025
      Creditor's mailing address                  Describe the lien
                                                  Growth Capital Loan Agreement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      11/20/2020                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1   Volition Capital Fund III,
0     L.P.                                        Describe debtor's property that is subject to a lien                     Unknown     Unknown
      Creditor's Name                             All personal property of the Debtor
      Volition Capital LLC
      177 Huntington Avenue
      16th Floor
      Boston, MA 02115
      Creditor's mailing address                  Describe the lien
                                                  UCC-1 Filing
Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                       page 4 of 5
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Debtor       Medly UCHC Pharmacy Inc.                                                              Case number (if known)     22-11280
             Name

                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.1    Volition Capital Select
1      Fund I, L.P.                                Describe debtor's property that is subject to a lien                     Unknown                  Unknown
       Creditor's Name                             All personal property of the Debtor
       Volition Capital LLC
       177 Huntington Avenue
       16th Floor
       Boston, MA 02115
       Creditor's mailing address                  Describe the lien
                                                   UCC-1 Filing
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                        $101,171,503
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                 .68

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 5 of 5
                                   Case 22-11280-KBO                     Doc 4          Filed 01/09/23                 Page 27 of 79

Fill in this information to identify the case:

Debtor name        Medly UCHC Pharmacy Inc.

United States Bankruptcy Court for the:         DISTRICT OF DELAWARE

Case number (if known)           22-11280
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $707.89
          Amazon Business                                                      Contingent
          PO Box 035184                                                        Unliquidated
          Seattle, WA 98124                                                    Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,065.00
          ANRO Inc.                                                            Contingent
          931 S. Matlack Street                                                Unliquidated
          West Chester, PA 19382                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $198.15
          Boss Facility Services Inc                                           Contingent
          60 Adams Ave.                                                        Unliquidated
          Ste. 109                                                             Disputed
          Hauppauge, NY 11788
                                                                            Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $653.25
          Brinco Mechanical Mgmt Services                                      Contingent
          125 South Main Street                                                Unliquidated
          Freeport, NY 11520                                                   Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 3
                                                                                                          56547
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Debtor       Medly UCHC Pharmacy Inc.                                                        Case number (if known)            22-11280
             Name

3.5       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $93,557.14
          Cardinal Health LLC                                          Contingent
          c/o Bank of America Lockbox                                  Unliquidated
          5303 Collections Center Drive                                Disputed
          Chicago, IL 60693
                                                                    Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.6       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $300.03
          CSC (4736)                                                   Contingent
          P.O. Box 7410023                                             Unliquidated
          Chicago, IL 60674                                            Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                    Is the claim subject to offset?     No       Yes

3.7       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $248.64
          Medly Pharmacy Brooklyn Inc.                                 Contingent
          31 Debevoise Street                                          Unliquidated
          Floor 1                                                      Disputed
          Brooklyn, NY 11206
                                                                    Basis for the claim:    Intercompany Claim
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.8       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,202.35
          Micro Merchant Systems Inc                                   Contingent
          6800 Jericho Turnpike                                        Unliquidated
          Suite 203E                                                   Disputed
          Syosset, NY 11791
                                                                    Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.9       Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $196.50
          Optimum (8028)                                               Contingent
          Cablevision                                                  Unliquidated
          PO Box 70340                                                 Disputed
          Philadelphia, PA 19176-0340
                                                                    Basis for the claim:    Trade Debt
          Date(s) debt was incurred
          Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.10      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $118.67
          Stericycle Inc                                               Contingent
          PO Box 6582                                                  Unliquidated
          Carol Stream, IL 60197-6582                                  Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                    Is the claim subject to offset?     No       Yes

3.11      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $171,347.92
          Union Community Health Center                                Contingent
          260 East 188th Street                                        Unliquidated
          Bronx, NY 10458                                              Disputed
          Date(s) debt was incurred
                                                                    Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                    Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims



Official Form 206 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 3
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Debtor      Medly UCHC Pharmacy Inc.                                                               Case number (if known)         22-11280
            Name

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
5a. Total claims from Part 1                                                                         5a.       $                           0.00
5b. Total claims from Part 2                                                                         5b.   +   $                     269,595.54

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                              5c.       $                        269,595.54




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 3
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Fill in this information to identify the case:

Debtor name       Medly UCHC Pharmacy Inc.

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)     22-11280
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Lease Agreement dated
           lease is for and the nature of        December 1, 2019
           the debtor's interest

               State the term remaining
                                                                                    Union Community Health Center
           List the contract number of any                                          260 East 188th Street
                 government contract                                                Bronx, NY 10458




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Medly UCHC Pharmacy Inc.

United States Bankruptcy Court for the:   DISTRICT OF DELAWARE

Case number (if known)   22-11280
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Care Well                   7088 Winchester Circle                                    Silicon Valley Bank                D   2.8
          Pharmacy Inc.               Suite 100                                                                                    E/F
                                      Boulder, CO 80301
                                                                                                                                   G




   2.2    Care Well                   7088 Winchester Circle                                    Triplepoint Venture                D   2.9
          Pharmacy Inc.               Suite 100                                                 Growth BDC Corp.                   E/F
                                      Boulder, CO 80301
                                                                                                                                   G




   2.3    Care Well                   7088 Winchester Circle                                    Eight Roads                        D   2.1
          Pharmacy Inc.               Suite 100                                                 Ventures India III LP              E/F
                                      Boulder, CO 80301
                                                                                                                                   G




   2.4    Care Well                   7088 Winchester Circle                                    F-Prime Capital                    D   2.2
          Pharmacy Inc.               Suite 100                                                 Partners Health                    E/F
                                      Boulder, CO 80301
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                          Page 1 of 49
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Debtor    Medly UCHC Pharmacy Inc.                                                Case number (if known)   22-11280


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.5     Care Well                7088 Winchester Circle                              Greycroft ACI                      D   2.3
          Pharmacy Inc.            Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.6     Care Well                7088 Winchester Circle                              Greycroft Partners V,              D   2.4
          Pharmacy Inc.            Suite 100                                           L.P.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.7     Care Well                7088 Winchester Circle                              HTC Global Services,               D   2.5
          Pharmacy Inc.            Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.8     Care Well                7088 Winchester Circle                              Lindenwood Health,                 D   2.6
          Pharmacy Inc.            Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.9     Care Well                7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
          Pharmacy Inc.            Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.10    Care Well                7088 Winchester Circle                              Volition Capital Fund              D   2.10
          Pharmacy Inc.            Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.11    Care Well                7088 Winchester Circle                              Volition Capital                   D   2.11
          Pharmacy Inc.            Suite 100                                           Select Fund I, L.P.                E/F
                                   Boulder, CO 80301
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                    Page 2 of 49
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Debtor    Medly UCHC Pharmacy Inc.                                                Case number (if known)   22-11280


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.12    Grubbs Care              7088 Winchester Circle                              Silicon Valley Bank                D   2.8
          Pharmacy NW              Suite 100                                                                              E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.13    Grubbs Care              7088 Winchester Circle                              Triplepoint Venture                D   2.9
          Pharmacy NW              Suite 100                                           Growth BDC Corp.                   E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.14    Grubbs Care              7088 Winchester Circle                              Eight Roads                        D   2.1
          Pharmacy NW              Suite 100                                           Ventures India III LP              E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.15    Grubbs Care              7088 Winchester Circle                              F-Prime Capital                    D   2.2
          Pharmacy NW              Suite 100                                           Partners Health                    E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.16    Grubbs Care              7088 Winchester Circle                              Greycroft ACI                      D   2.3
          Pharmacy NW              Suite 100                                           Evolution Fund I, L.P.             E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.17    Grubbs Care              7088 Winchester Circle                              Greycroft ACI                      D   2.4
          Pharmacy NW              Suite 100                                           Evolution Fund I, L.P.             E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.18    Grubbs Care              7088 Winchester Circle                              HTC Global Services,               D   2.5
          Pharmacy NW              Suite 100                                           Inc.                               E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                    Page 3 of 49
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Debtor    Medly UCHC Pharmacy Inc.                                                Case number (if known)   22-11280


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.19    Grubbs Care              7088 Winchester Circle                              Lindenwood Health,                 D   2.6
          Pharmacy NW              Suite 100                                           Inc.                               E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.20    Grubbs Care              7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
          Pharmacy NW              Suite 100                                           1, L.P.                            E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.21    Grubbs Care              7088 Winchester Circle                              Volition Capital Fund              D   2.10
          Pharmacy NW              Suite 100                                           III, L.P.                          E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.22    Grubbs Care              7088 Winchester Circle                              Volition Capital Fund              D   2.11
          Pharmacy NW              Suite 100                                           III, L.P.                          E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.23    Marg Pharmacy            7088 Winchester Circle                              Silicon Valley Bank                D   2.8
          Inc.                     Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.24    Marg Pharmacy            7088 Winchester Circle                              Triplepoint Venture                D   2.9
          Inc.                     Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.25    Marg Pharmacy            7088 Winchester Circle                              Eight Roads                        D   2.1
          Inc.                     Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                    Page 4 of 49
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Debtor    Medly UCHC Pharmacy Inc.                                                Case number (if known)   22-11280


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.26    Marg Pharmacy            7088 Winchester Circle                              F-Prime Capital                    D   2.2
          Inc.                     Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.27    Marg Pharmacy            7088 Winchester Circle                              Greycroft ACI                      D   2.3
          Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.28    Marg Pharmacy            7088 Winchester Circle                              Greycroft ACI                      D   2.4
          Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.29    Marg Pharmacy            7088 Winchester Circle                              HTC Global Services,               D   2.5
          Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.30    Marg Pharmacy            7088 Winchester Circle                              Lindenwood Health,                 D   2.6
          Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.31    Marg Pharmacy            7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
          Inc.                     Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.32    Marg Pharmacy            7088 Winchester Circle                              Volition Capital Fund              D   2.10
          Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                    Page 5 of 49
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Debtor    Medly UCHC Pharmacy Inc.                                                Case number (if known)   22-11280


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.33    Marg Pharmacy            7088 Winchester Circle                              Volition Capital Fund              D   2.11
          Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.34    Medly Atlanta            7088 Winchester Circle                              Silicon Valley Bank                D   2.8
          Inc.                     Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.35    Medly Atlanta            7088 Winchester Circle                              Triplepoint Venture                D   2.9
          Inc.                     Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.36    Medly Atlanta            7088 Winchester Circle                              Eight Roads                        D   2.1
          Inc.                     Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.37    Medly Atlanta            7088 Winchester Circle                              F-Prime Capital                    D   2.2
          Inc.                     Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.38    Medly Atlanta            7088 Winchester Circle                              Greycroft ACI                      D   2.3
          Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.39    Medly Atlanta            7088 Winchester Circle                              Greycroft ACI                      D   2.4
          Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                    Page 6 of 49
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Debtor    Medly UCHC Pharmacy Inc.                                                Case number (if known)   22-11280


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  2.40    Medly Atlanta            7088 Winchester Circle                              HTC Global Services,               D   2.5
          Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.41    Medly Atlanta            7088 Winchester Circle                              Lindenwood Health,                 D   2.6
          Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.42    Medly Atlanta            7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
          Inc.                     Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.43    Medly Atlanta            7088 Winchester Circle                              Volition Capital Fund              D   2.10
          Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.44    Medly Atlanta            7088 Winchester Circle                              Volition Capital Fund              D   2.11
          Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.45    Medly Baltimore          7088 Winchester Circle                              Silicon Valley Bank                D   2.8
          Inc.                     Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.46    Medly Baltimore          7088 Winchester Circle                              Triplepoint Venture                D   2.9
          Inc.                     Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.47    Medly Baltimore          7088 Winchester Circle                              F-Prime Capital                    D   2.2
          Inc.                     Suite 100                                           Partners Health                    E/F
                                   80301
                                                                                                                          G




  2.48    Medly Baltimore          7088 Winchester Circle                              HTC Global Services,               D   2.5
          Inc.                     Suite 100                                           Inc.                               E/F
                                   80301
                                                                                                                          G




  2.49    Medly Baltimore          7088 Winchester Circle                              Lindenwood Health,                 D   2.6
          Inc.                     Suite 100                                           Inc.                               E/F
                                   80301
                                                                                                                          G




  2.50    Medly Baltimore          7088 Winchester Circle                              Volition Capital Fund              D   2.10
          Inc.                     Suite 100                                           III, L.P.                          E/F
                                   80301
                                                                                                                          G




  2.51    Medly Baltimore          7088 Winchester Circle                              Volition Capital Fund              D   2.11
          Inc.                     Suite 100                                           III, L.P.                          E/F
                                   80301
                                                                                                                          G




  2.52    Medly Bedford            7088 Winchester Circle                              Silicon Valley Bank                D   2.8
          Ave Pharmacy             Suite 100                                                                              E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.53    Medly Bedford            7088 Winchester Circle                              Triplepoint Venture                D   2.9
          Ave Pharmacy             Suite 100                                           Growth BDC Corp.                   E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




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  2.54    Medly Bedford            7088 Winchester Circle                              Eight Roads                        D   2.1
          Ave Pharmacy             Suite 100                                           Ventures India III LP              E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.55    Medly Bedford            7088 Winchester Circle                              F-Prime Capital                    D   2.2
          Ave Pharmacy             Suite 100                                           Partners Health                    E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.56    Medly Bedford            7088 Winchester Circle                              Greycroft ACI                      D   2.3
          Ave Pharmacy             Suite 100                                           Evolution Fund I, L.P.             E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.57    Medly Bedford            7088 Winchester Circle                              Greycroft ACI                      D   2.4
          Ave Pharmacy             Suite 100                                           Evolution Fund I, L.P.             E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.58    Medly Bedford            7088 Winchester Circle                              HTC Global Services,               D   2.5
          Ave Pharmacy             Suite 100                                           Inc.                               E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.59    Medly Bedford            7088 Winchester Circle                              Lindenwood Health,                 D   2.6
          Ave Pharmacy             Suite 100                                           Inc.                               E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.60    Medly Bedford            7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
          Ave Pharmacy             Suite 100                                           1, L.P.                            E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




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  2.61    Medly Bedford            7088 Winchester Circle                              Volition Capital Fund              D   2.10
          Ave Pharmacy             Suite 100                                           III, L.P.                          E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.62    Medly Bedford            7088 Winchester Circle                              Volition Capital Fund              D   2.11
          Ave Pharmacy             Suite 100                                           III, L.P.                          E/F
          Inc.                     Boulder, CO 80301
                                                                                                                          G




  2.63    Medly Bristol Inc.       7088 Winchester Circle                              Silicon Valley Bank                D   2.8
                                   Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.64    Medly Bristol Inc.       7088 Winchester Circle                              Triplepoint Venture                D   2.9
                                   Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.65    Medly Bristol Inc.       7088 Winchester Circle                              Eight Roads                        D   2.1
                                   Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.66    Medly Bristol Inc.       7088 Winchester Circle                              F-Prime Capital                    D   2.2
                                   Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.67    Medly Bristol Inc.       7088 Winchester Circle                              Greycroft ACI                      D   2.3
                                   Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.68    Medly Bristol Inc.       7088 Winchester Circle                              Greycroft ACI                      D   2.4
                                   Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.69    Medly Bristol Inc.       7088 Winchester Circle                              HTC Global Services,               D   2.5
                                   Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.70    Medly Bristol Inc.       7088 Winchester Circle                              Lindenwood Health,                 D   2.6
                                   Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.71    Medly Bristol Inc.       7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
                                   Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.72    Medly Bristol Inc.       7088 Winchester Circle                              Volition Capital Fund              D   2.10
                                   Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.73    Medly Bristol Inc.       7088 Winchester Circle                              Volition Capital Fund              D   2.11
                                   Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.74    Medly Bronx Inc.         7088 Winchester Circle                              Silicon Valley Bank                D   2.8
                                   Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.75    Medly Bronx Inc.         7088 Winchester Circle                              Triplepoint Venture                D   2.9
                                   Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.76    Medly Bronx Inc.         7088 Winchester Circle                              Eight Roads                        D   2.1
                                   Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.77    Medly Bronx Inc.         7088 Winchester Circle                              F-Prime Capital                    D   2.2
                                   Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.78    Medly Bronx Inc.         7088 Winchester Circle                              Greycroft ACI                      D   2.3
                                   Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.79    Medly Bronx Inc.         7088 Winchester Circle                              Greycroft ACI                      D   2.4
                                   Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.80    Medly Bronx Inc.         7088 Winchester Circle                              HTC Global Services,               D   2.5
                                   Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.81    Medly Bronx Inc.         7088 Winchester Circle                              Lindenwood Health,                 D   2.6
                                   Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.82    Medly Bronx Inc.         7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
                                   Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.83    Medly Bronx Inc.         7088 Winchester Circle                              Volition Capital Fund              D   2.10
                                   Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.84    Medly Bronx Inc.         7088 Winchester Circle                              Volition Capital Fund              D   2.11
                                   Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.85    Medly Chicago            7088 Winchester Circle                              Silicon Valley Bank                D   2.8
          Inc.                     Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.86    Medly Chicago            7088 Winchester Circle                              Triplepoint Venture                D   2.9
          Inc.                     Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.87    Medly Chicago            7088 Winchester Circle                              Eight Roads                        D   2.1
          Inc.                     Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.88    Medly Chicago            7088 Winchester Circle                              F-Prime Capital                    D   2.2
          Inc.                     Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.89    Medly Chicago            7088 Winchester Circle                              Greycroft ACI                      D   2.3
          Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.90    Medly Chicago            7088 Winchester Circle                              Greycroft ACI                      D   2.4
          Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.91    Medly Chicago            7088 Winchester Circle                              HTC Global Services,               D   2.5
          Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.92    Medly Chicago            7088 Winchester Circle                              Lindenwood Health,                 D   2.6
          Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.93    Medly Chicago            7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
          Inc.                     Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.94    Medly Chicago            7088 Winchester Circle                              Volition Capital Fund              D   2.10
          Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.95    Medly Chicago            7088 Winchester Circle                              Volition Capital Fund              D   2.11
          Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.96    Medly Dallas Inc.        7088 Winchester Circle                              Silicon Valley Bank                D   2.8
                                   Ssuite 100                                                                             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.97    Medly Dallas Inc.        7088 Winchester Circle                              Triplepoint Venture                D   2.9
                                   Ssuite 100                                          Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.98    Medly Dallas Inc.        7088 Winchester Circle                              Eight Roads                        D   2.1
                                   Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.99    Medly Dallas Inc.        7088 Winchester Circle                              F-Prime Capital                    D   2.2
                                   Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.10    Medly Dallas Inc.        7088 Winchester Circle                              Greycroft ACI                      D   2.3
  0                                Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.10    Medly Dallas Inc.        7088 Winchester Circle                              Greycroft ACI                      D   2.4
  1                                Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.10    Medly Dallas Inc.        7088 Winchester Circle                              HTC Global Services,               D   2.5
  2                                Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.10    Medly Dallas Inc.        7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  3                                Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.10    Medly Dallas Inc.        7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  4                                Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.10    Medly Dallas Inc.        7088 Winchester Circle                              Volition Capital Fund              D   2.10
  5                                Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.10    Medly Dallas Inc.        7088 Winchester Circle                              Volition Capital Fund              D   2.11
  6                                Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.10    Medly DC Inc.            7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  7                                Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.10    Medly DC Inc.            7088 Winchester Circle                              Triplepoint Venture                D   2.9
  8                                Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.10    Medly DC Inc.            7088 Winchester Circle                              Eight Roads                        D   2.1
  9                                Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.11    Medly DC Inc.            7088 Winchester Circle                              F-Prime Capital                    D   2.2
  0                                Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.11    Medly DC Inc.            7088 Winchester Circle                              Greycroft ACI                      D   2.3
  1                                Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.11    Medly DC Inc.            7088 Winchester Circle                              Greycroft ACI                      D   2.4
  2                                Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.11    Medly DC Inc.            7088 Winchester Circle                              HTC Global Services,               D   2.5
  3                                Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.11    Medly DC Inc.            7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  4                                Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.11    Medly DC Inc.            7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  5                                Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.11    Medly DC Inc.            7088 Winchester Circle                              Volition Capital Fund              D   2.10
  6                                Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.11    Medly DC Inc.            7088 Winchester Circle                              Volition Capital Fund              D   2.11
  7                                Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.11    Medly Enterprise         7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  8       LLC                      Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.11    Medly Enterprise         7088 Winchester Circle                              Triplepoint Venture                D   2.9
  9       LLC                      Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.12    Medly Enterprise         7088 Winchester Circle                              Eight Roads                        D   2.1
  0       LLC                      Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.12    Medly Enterprise         7088 Winchester Circle                              F-Prime Capital                    D   2.2
  1       LLC                      Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.12    Medly Enterprise         7088 Winchester Circle                              Greycroft ACI                      D   2.3
  2       LLC                      Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.12    Medly Enterprise         7088 Winchester Circle                              Greycroft ACI                      D   2.4
  3       LLC                      Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.12    Medly Enterprise         7088 Winchester Circle                              HTC Global Services,               D   2.5
  4       LLC                      Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.12    Medly Enterprise         7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  5       LLC                      Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.12    Medly Enterprise         7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  6       LLC                      Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.12    Medly Enterprise         7088 Winchester Circle                              Volition Capital Fund              D   2.10
  7       LLC                      Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.12    Medly Enterprise         7088 Winchester Circle                              Volition Capital Fund              D   2.11
  8       LLC                      Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.12    Medly Grand              7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  9       Central Inc.             Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.13    Medly Grand              7088 Winchester Circle                              Triplepoint Venture                D   2.9
  0       Central Inc.             Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.13    Medly Grand              7088 Winchester Circle                              Eight Roads                        D   2.1
  1       Central Inc.             Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.13    Medly Grand              7088 Winchester Circle                              F-Prime Capital                    D   2.2
  2       Central Inc.             Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.13    Medly Grand              7088 Winchester Circle                              Greycroft ACI                      D   2.3
  3       Central Inc.             Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.13    Medly Grand              7088 Winchester Circle                              Greycroft ACI                      D   2.4
  4       Central Inc.             Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.13    Medly Grand              7088 Winchester Circle                              HTC Global Services,               D   2.5
  5       Central Inc.             Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.13    Medly Grand              7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  6       Central Inc.             Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.13    Medly Grand              7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  7       Central Inc.             Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.13    Medly Grand              7088 Winchester Circle                              Volition Capital Fund              D   2.10
  8       Central Inc.             Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.13    Medly Grand              7088 Winchester Circle                              Volition Capital Fund              D   2.11
  9       Central Inc.             Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.14    Medly Health Inc.        7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  0                                Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.14    Medly Health Inc.        7088 Winchester Circle                              Triplepoint Venture                D   2.9
  1                                Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.14    Medly Health Inc.        7088 Winchester Circle                              Eight Roads                        D   2.1
  2                                Ssuite 100                                          Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.14    Medly Health Inc.        7088 Winchester Circle                              F-Prime Capital                    D   2.2
  3                                Ssuite 100                                          Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.14    Medly Health Inc.        7088 Winchester Circle                              Greycroft ACI                      D   2.3
  4                                Ssuite 100                                          Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.14    Medly Health Inc.        7088 Winchester Circle                              Greycroft ACI                      D   2.4
  5                                Ssuite 100                                          Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.14    Medly Health Inc.        7088 Winchester Circle                              HTC Global Services,               D   2.5
  6                                Ssuite 100                                          Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.14    Medly Health Inc.        7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  7                                Ssuite 100                                          Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.14    Medly Health Inc.        7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  8                                Ssuite 100                                          1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.14    Medly Health Inc.        7088 Winchester Circle                              Volition Capital Fund              D   2.10
  9                                Ssuite 100                                          III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.15    Medly Health Inc.        7088 Winchester Circle                              Volition Capital Fund              D   2.11
  0                                Ssuite 100                                          III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.15    Medly Houston            7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  1       Inc.                     Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.15    Medly Houston            7088 Winchester Circle                              Triplepoint Venture                D   2.9
  2       Inc.                     Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.15    Medly Houston            7088 Winchester Circle                              Eight Roads                        D   2.1
  3       Inc.                     Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.15    Medly Houston            7088 Winchester Circle                              F-Prime Capital                    D   2.2
  4       Inc.                     Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.15    Medly Houston            7088 Winchester Circle                              Greycroft ACI                      D   2.3
  5       Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.15    Medly Houston            7088 Winchester Circle                              Greycroft ACI                      D   2.4
  6       Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.15    Medly Houston            7088 Winchester Circle                              HTC Global Services,               D   2.5
  7       Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.15    Medly Houston            7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  8       Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.15    Medly Houston            7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  9       Inc.                     Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.16    Medly Houston            7088 Winchester Circle                              Volition Capital Fund              D   2.10
  0       Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.16    Medly Houston            7088 Winchester Circle                              Volition Capital Fund              D   2.11
  1       Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.16    Medly Jersey             7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  2       City Inc.                Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.16    Medly Jersey             7088 Winchester Circle                              Triplepoint Venture                D   2.9
  3       City Inc.                Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.16    Medly Jersey             7088 Winchester Circle                              Eight Roads                        D   2.1
  4       City Inc.                Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.16    Medly Jersey             7088 Winchester Circle                              F-Prime Capital                    D   2.2
  5       City Inc.                Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.16    Medly Jersey             7088 Winchester Circle                              Greycroft ACI                      D   2.3
  6       City Inc.                Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.16    Medly Jersey             7088 Winchester Circle                              Greycroft ACI                      D   2.4
  7       City Inc.                Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.16    Medly Jersey             7088 Winchester Circle                              HTC Global Services,               D   2.5
  8       City Inc.                Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.16    Medly Jersey             7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  9       City Inc.                Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.17    Medly Jersey             7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  0       City Inc.                Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.17    Medly Jersey             7088 Winchester Circle                              Volition Capital Fund              D   2.10
  1       City Inc.                Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.17    Medly Jersey             7088 Winchester Circle                              Volition Capital Fund              D   2.11
  2       City Inc.                Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.17    Medly Mail               7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  3       Service                  Suite 100                                                                              E/F
          Pharmacy LLC             Boulder, CO 80301
                                                                                                                          G




  2.17    Medly Mail               7088 Winchester Circle                              Triplepoint Venture                D   2.9
  4       Service                  Suite 100                                           Growth BDC Corp.                   E/F
          Pharmacy LLC             Boulder, CO 80301
                                                                                                                          G




  2.17    Medly Mail               7088 Winchester Circle                              Eight Roads                        D   2.1
  5       Service                  Suite 100                                           Ventures India III LP              E/F
          Pharmacy LLC             Boulder, CO 80301
                                                                                                                          G




  2.17    Medly Mail               7088 Winchester Circle                              F-Prime Capital                    D   2.2
  6       Service                  Suite 100                                           Partners Health                    E/F
          Pharmacy LLC             Boulder, CO 80301
                                                                                                                          G




  2.17    Medly Mail               7088 Winchester Circle                              Greycroft ACI                      D   2.3
  7       Service                  Suite 100                                           Evolution Fund I, L.P.             E/F
          Pharmacy LLC             Boulder, CO 80301
                                                                                                                          G




  2.17    Medly Mail               7088 Winchester Circle                              Greycroft ACI                      D   2.4
  8       Service                  Suite 100                                           Evolution Fund I, L.P.             E/F
          Pharmacy LLC             Boulder, CO 80301
                                                                                                                          G




  2.17    Medly Mail               7088 Winchester Circle                              HTC Global Services,               D   2.5
  9       Service                  Suite 100                                           Inc.                               E/F
          Pharmacy LLC             Boulder, CO 80301
                                                                                                                          G




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  2.18    Medly Mail               7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  0       Service                  Suite 100                                           Inc.                               E/F
          Pharmacy LLC             Boulder, CO 80301
                                                                                                                          G




  2.18    Medly Mail               7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  1       Service                  Suite 100                                           1, L.P.                            E/F
          Pharmacy LLC             Boulder, CO 80301
                                                                                                                          G




  2.18    Medly Mail               7088 Winchester Circle                              Volition Capital Fund              D   2.10
  2       Service                  Suite 100                                           III, L.P.                          E/F
          Pharmacy LLC             Boulder, CO 80301
                                                                                                                          G




  2.18    Medly Mail               7088 Winchester Circle                              Volition Capital Fund              D   2.11
  3       Service                  Suite 100                                           III, L.P.                          E/F
          Pharmacy LLC             Boulder, CO 80301
                                                                                                                          G




  2.18    Medly Miami Inc.         7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  4                                Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.18    Medly Miami Inc.         7088 Winchester Circle                              Triplepoint Venture                D   2.9
  5                                Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.18    Medly Miami Inc.         7088 Winchester Circle                              Eight Roads                        D   2.1
  6                                Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.18    Medly Miami Inc.         7088 Winchester Circle                              F-Prime Capital                    D   2.2
  7                                Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.18    Medly Miami Inc.         7088 Winchester Circle                              Greycroft ACI                      D   2.3
  8                                Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.18    Medly Miami Inc.         7088 Winchester Circle                              Greycroft ACI                      D   2.4
  9                                Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.19    Medly Miami Inc.         7088 Winchester Circle                              HTC Global Services,               D   2.5
  0                                Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.19    Medly Miami Inc.         7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  1                                Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.19    Medly Miami Inc.         7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  2                                Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.19    Medly Miami Inc.         7088 Winchester Circle                              Volition Capital Fund              D   2.11
  3                                Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.19    Medly Orlando            7088 Winchester Circle                              Eight Roads                        D   2.1
  4                                Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.19    Medly Orlando            7088 Winchester Circle                              F-Prime Capital                    D   2.2
  5                                Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.19    Medly Orlando            7088 Winchester Circle                              Greycroft ACI                      D   2.3
  6                                Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.19    Medly Orlando            7088 Winchester Circle                              Greycroft ACI                      D   2.4
  7                                Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.19    Medly Orlando            7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  8                                Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.19    Medly Orlando            7088 Winchester Circle                              Volition Capital Fund              D   2.10
  9                                Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.20    Medly Orlando            7088 Winchester Circle                              Volition Capital Fund              D   2.11
  0                                Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.20    Medly Orlando            7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  1       Inc.                     Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.20    Medly Orlando            7088 Winchester Circle                              Triplepoint Venture                D   2.9
  2       Inc.                     Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.20    Medly Pharmacy           7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  3       Inc.                     Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.20    Medly Pharmacy           7088 Winchester Circle                              Triplepoint Venture                D   2.9
  4       Inc.                     Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.20    Medly Pharmacy           7088 Winchester Circle                              Eight Roads                        D   2.1
  5       Inc.                     Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.20    Medly Pharmacy           7088 Winchester Circle                              F-Prime Capital                    D   2.2
  6       Inc.                     Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.20    Medly Pharmacy           7088 Winchester Circle                              Greycroft ACI                      D   2.3
  7       Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.20    Medly Pharmacy           7088 Winchester Circle                              Greycroft ACI                      D   2.4
  8       Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.20    Medly Pharmacy           7088 Winchester Circle                              HTC Global Services,               D   2.5
  9       Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.21    Medly Pharmacy           7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  0       Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.21    Medly Pharmacy           7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  1       Inc.                     Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.21    Medly Pharmacy           7088 Winchester Circle                              Volition Capital Fund              D   2.10
  2       Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.21    Medly Pharmacy           7088 Winchester Circle                              Volition Capital Fund              D   2.11
  3       Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.21    Medly Pharmacy           7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  4       PA Inc.                  Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.21    Medly Pharmacy           7088 Winchester Circle                              Triplepoint Venture                D   2.9
  5       PA Inc.                  Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.21    Medly Pharmacy           7088 Winchester Circle                              Eight Roads                        D   2.1
  6       PA Inc.                  Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.21    Medly Pharmacy           7088 Winchester Circle                              F-Prime Capital                    D   2.2
  7       PA Inc.                  Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.21    Medly Pharmacy           7088 Winchester Circle                              Greycroft ACI                      D   2.3
  8       PA Inc.                  Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.21    Medly Pharmacy           7088 Winchester Circle                              Greycroft ACI                      D   2.4
  9       PA Inc.                  Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.22    Medly Pharmacy           7088 Winchester Circle                              HTC Global Services,               D   2.5
  0       PA Inc.                  Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.22    Medly Pharmacy           7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  1       PA Inc.                  Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.22    Medly Pharmacy           7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  2       PA Inc.                  Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.22    Medly Pharmacy           7088 Winchester Circle                              Volition Capital Fund              D   2.10
  3       PA Inc.                  Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.22    Medly Pharmacy           7088 Winchester Circle                              Volition Capital Fund              D   2.11
  4       PA Inc.                  Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.22    Medly Pittsburgh         7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  5       Inc.                     Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.22    Medly Pittsburgh         7088 Winchester Circle                              Triplepoint Venture                D   2.9
  6       Inc.                     Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.22    Medly Pittsburgh         7088 Winchester Circle                              Eight Roads                        D   2.1
  7       Inc.                     Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.22    Medly Pittsburgh         7088 Winchester Circle                              F-Prime Capital                    D   2.2
  8       Inc.                     Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.22    Medly Pittsburgh         7088 Winchester Circle                              Greycroft ACI                      D   2.3
  9       Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.23    Medly Pittsburgh         7088 Winchester Circle                              Greycroft ACI                      D   2.4
  0       Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.23    Medly Pittsburgh         7088 Winchester Circle                              HTC Global Services,               D   2.5
  1       Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.23    Medly Pittsburgh         7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  2       Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.23    Medly Pittsburgh         7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  3       Inc.                     Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.23    Medly Pittsburgh         7088 Winchester Circle                              Volition Capital Fund              D   2.10
  4       Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.23    Medly Pittsburgh         7088 Winchester Circle                              Volition Capital Fund              D   2.11
  5       Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.23    Medly Queens             7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  6       Inc.                     Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.23    Medly Queens             7088 Winchester Circle                              Triplepoint Venture                D   2.9
  7       Inc.                     Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.23    Medly Queens             7088 Winchester Circle                              Eight Roads                        D   2.1
  8       Inc.                     Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.23    Medly Queens             7088 Winchester Circle                              F-Prime Capital                    D   2.2
  9       Inc.                     Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.24    Medly Queens             7088 Winchester Circle                              Greycroft ACI                      D   2.3
  0       Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.24    Medly Queens             7088 Winchester Circle                              Greycroft ACI                      D   2.4
  1       Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.24    Medly Queens             7088 Winchester Circle                              HTC Global Services,               D   2.5
  2       Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.24    Medly Queens             7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  3       Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.24    Medly Queens             7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  4       Inc.                     Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.24    Medly Queens             7088 Winchester Circle                              Volition Capital Fund              D   2.10
  5       Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.24    Medly Queens             7088 Winchester Circle                              Volition Capital Fund              D   2.11
  6       Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.24    Medly Raleigh            7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  7       Inc.                     Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.24    Medly Raleigh            7088 Winchester Circle                              Triplepoint Venture                D   2.9
  8       Inc.                     Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.24    Medly Raleigh            7088 Winchester Circle                              Eight Roads                        D   2.1
  9       Inc.                     Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.25    Medly Raleigh            7088 Winchester Circle                              F-Prime Capital                    D   2.2
  0       Inc.                     Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.25    Medly Raleigh            7088 Winchester Circle                              Greycroft ACI                      D   2.3
  1       Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.25    Medly Raleigh            7088 Winchester Circle                              Greycroft ACI                      D   2.4
  2       Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.25    Medly Raleigh            7088 Winchester Circle                              HTC Global Services,               D   2.5
  3       Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.25    Medly Raleigh            7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  4       Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.25    Medly Raleigh            7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  5       Inc.                     Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.25    Medly Raleigh            7088 Winchester Circle                              Volition Capital Fund              D   2.10
  6       Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.25    Medly Raleigh            7088 Winchester Circle                              Volition Capital Fund              D   2.11
  7       Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.25    Medly San                7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  8       Antonio Inc.             Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.25    Medly San                7088 Winchester Circle                              Triplepoint Venture                D   2.9
  9       Antonio Inc.             Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.26    Medly San                7088 Winchester Circle                              Eight Roads                        D   2.1
  0       Antonio Inc.             Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.26    Medly San                7088 Winchester Circle                              F-Prime Capital                    D   2.2
  1       Antonio Inc.             Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.26    Medly San                7088 Winchester Circle                              Greycroft ACI                      D   2.3
  2       Antonio Inc.             Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.26    Medly San                7088 Winchester Circle                              Greycroft ACI                      D   2.4
  3       Antonio Inc.             Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.26    Medly San                7088 Winchester Circle                              HTC Global Services,               D   2.5
  4       Antonio Inc.             Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.26    Medly San                7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  5       Antonio Inc.             Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.26    Medly San                7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  6       Antonio Inc.             Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.26    Medly San                7088 Winchester Circle                              Volition Capital Fund              D   2.10
  7       Antonio Inc.             Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.26    Medly San                7088 Winchester Circle                              Volition Capital Fund              D   2.11
  8       Antonio Inc.             Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.26    Medly Stamford           7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  9       Inc.                     Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.27    Medly Stamford           7088 Winchester Circle                              Triplepoint Venture                D   2.9
  0       Inc.                     Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.27    Medly Stamford           7088 Winchester Circle                              Eight Roads                        D   2.1
  1       Inc.                     Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.27    Medly Stamford           7088 Winchester Circle                              F-Prime Capital                    D   2.2
  2       Inc.                     Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.27    Medly Stamford           7088 Winchester Circle                              Greycroft ACI                      D   2.3
  3       Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.27    Medly Stamford           7088 Winchester Circle                              Greycroft ACI                      D   2.4
  4       Inc.                     Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.27    Medly Stamford           7088 Winchester Circle                              HTC Global Services,               D   2.5
  5       Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.27    Medly Stamford           7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  6       Inc.                     Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.27    Medly Stamford           7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  7       Inc.                     Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.27    Medly Stamford           7088 Winchester Circle                              Volition Capital Fund              D   2.10
  8       Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.27    Medly Stamford           7088 Winchester Circle                              Volition Capital Fund              D   2.11
  9       Inc.                     Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.28    Medly Tampa Inc.         7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  0                                Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.28    Medly Tampa Inc.         7088 Winchester Circle                              Triplepoint Venture                D   2.9
  1                                Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.28    Medly Tampa Inc.         7088 Winchester Circle                              Eight Roads                        D   2.1
  2                                Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.28    Medly Tampa Inc.         7088 Winchester Circle                              F-Prime Capital                    D   2.2
  3                                Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.28    Medly Tampa Inc.         7088 Winchester Circle                              Greycroft ACI                      D   2.3
  4                                Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.28    Medly Tampa Inc.         7088 Winchester Circle                              Greycroft ACI                      D   2.4
  5                                Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.28    Medly Tampa Inc.         7088 Winchester Circle                              HTC Global Services,               D   2.5
  6                                Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.28    Medly Tampa Inc.         7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  7                                Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.28    Medly Tampa Inc.         7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  8                                Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.28    Medly Tampa Inc.         7088 Winchester Circle                              Volition Capital Fund              D   2.10
  9                                Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.29    Medly Tampa Inc.         7088 Winchester Circle                              Volition Capital Fund              D   2.11
  0                                Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.29    Medly Utah Inc.          7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  1                                Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.29    Medly Utah Inc.          7088 Winchester Circle                              Triplepoint Venture                D   2.9
  2                                Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.29    Medly Utah Inc.          7088 Winchester Circle                              Eight Roads                        D   2.1
  3                                Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.29    Medly Utah Inc.          7088 Winchester Circle                              F-Prime Capital                    D   2.2
  4                                Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.29    Medly Utah Inc.          7088 Winchester Circle                              Greycroft ACI                      D   2.3
  5                                Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.29    Medly Utah Inc.          7088 Winchester Circle                              Greycroft ACI                      D   2.4
  6                                Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.29    Medly Utah Inc.          7088 Winchester Circle                              HTC Global Services,               D   2.5
  7                                Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.29    Medly Utah Inc.          7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  8                                Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.29    Medly Utah Inc.          7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  9                                Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.30    Medly Utah Inc.          7088 Winchester Circle                              Volition Capital Fund              D   2.10
  0                                Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.30    Medly Utah Inc.          7088 Winchester Circle                              Volition Capital Fund              D   2.11
  1                                Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.30    Pharmaca                 7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  2       Integrative              Suite 100                                                                              E/F
          Pharmacy Inc.            Boulder, CO 80301
                                                                                                                          G




  2.30    Pharmaca                 7088 Winchester Circle                              Triplepoint Venture                D   2.9
  3       Integrative              Suite 100                                           Growth BDC Corp.                   E/F
          Pharmacy Inc.            Boulder, CO 80301
                                                                                                                          G




  2.30    Pharmaca                 7088 Winchester Circle                              Eight Roads                        D   2.1
  4       Integrative              Suite 100                                           Ventures India III LP              E/F
          Pharmacy Inc.            Boulder, CO 80301
                                                                                                                          G




  2.30    Pharmaca                 7088 Winchester Circle                              F-Prime Capital                    D   2.2
  5       Integrative              Suite 100                                           Partners Health                    E/F
          Pharmacy Inc.            Boulder, CO 80301
                                                                                                                          G




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  2.30    Pharmaca                 7088 Winchester Circle                              Greycroft ACI                      D   2.3
  6       Integrative              Suite 100                                           Evolution Fund I, L.P.             E/F
          Pharmacy Inc.            Boulder, CO 80301
                                                                                                                          G




  2.30    Pharmaca                 7088 Winchester Circle                              Greycroft ACI                      D   2.4
  7       Integrative              Suite 100                                           Evolution Fund I, L.P.             E/F
          Pharmacy Inc.            Boulder, CO 80301
                                                                                                                          G




  2.30    Pharmaca                 7088 Winchester Circle                              HTC Global Services,               D   2.5
  8       Integrative              Suite 100                                           Inc.                               E/F
          Pharmacy Inc.            Boulder, CO 80301
                                                                                                                          G




  2.30    Pharmaca                 7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  9       Integrative              Suite 100                                           Inc.                               E/F
          Pharmacy Inc.            Boulder, CO 80301
                                                                                                                          G




  2.31    Pharmaca                 7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  0       Integrative              Suite 100                                           1, L.P.                            E/F
          Pharmacy Inc.            Boulder, CO 80301
                                                                                                                          G




  2.31    Pharmaca                 7088 Winchester Circle                              Volition Capital Fund              D   2.10
  1       Integrative              Suite 100                                           III, L.P.                          E/F
          Pharmacy Inc.            Boulder, CO 80301
                                                                                                                          G




  2.31    Pharmaca                 7088 Winchester Circle                              Volition Capital Fund              D   2.11
  2       Integrative              Suite 100                                           III, L.P.                          E/F
          Pharmacy Inc.            Boulder, CO 80301
                                                                                                                          G




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Debtor    Medly UCHC Pharmacy Inc.                                                Case number (if known)   22-11280


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          Column 1: Codebtor                                                         Column 2: Creditor



  2.31    Tango340B LLC            7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  3                                Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.31    Tango340B LLC            7088 Winchester Circle                              Triplepoint Venture                D   2.9
  4                                Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.31    Tango340B LLC            7088 Winchester Circle                              Eight Roads                        D   2.1
  5                                Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.31    Tango340B LLC            7088 Winchester Circle                              F-Prime Capital                    D   2.2
  6                                Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.31    Tango340B LLC            7088 Winchester Circle                              Greycroft ACI                      D   2.3
  7                                Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.31    Tango340B LLC            7088 Winchester Circle                              Greycroft Partners V,              D   2.4
  8                                Suite 100                                           L.P.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.31    Tango340B LLC            7088 Winchester Circle                              HTC Global Services,               D   2.5
  9                                Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.32    Tango340B LLC            7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  0                                Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.32    Tango340B LLC            7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  1                                Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.32    Tango340B LLC            7088 Winchester Circle                              Volition Capital Fund              D   2.10
  2                                Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.32    Tango340B LLC            7088 Winchester Circle                              Volition Capital                   D   2.11
  3                                Suite 100                                           Select Fund I, L.P.                E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.32    West Campbell            7088 Winchester Circle                              Silicon Valley Bank                D   2.8
  4       Pharmacy Inc.            Suite 100                                                                              E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.32    West Campbell            7088 Winchester Circle                              Triplepoint Venture                D   2.9
  5       Pharmacy Inc.            Suite 100                                           Growth BDC Corp.                   E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.32    West Campbell            7088 Winchester Circle                              Eight Roads                        D   2.1
  6       Pharmacy Inc.            Suite 100                                           Ventures India III LP              E/F
                                   Boulder, CO 80301
                                                                                                                          G




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  2.32    West Campbell            7088 Winchester Circle                              F-Prime Capital                    D   2.2
  7       Pharmacy Inc.            Suite 100                                           Partners Health                    E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.32    West Campbell            7088 Winchester Circle                              Greycroft ACI                      D   2.3
  8       Pharmacy Inc.            Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.32    West Campbell            7088 Winchester Circle                              Greycroft ACI                      D   2.4
  9       Pharmacy Inc.            Suite 100                                           Evolution Fund I, L.P.             E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.33    West Campbell            7088 Winchester Circle                              HTC Global Services,               D   2.5
  0       Pharmacy Inc.            Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.33    West Campbell            7088 Winchester Circle                              Lindenwood Health,                 D   2.6
  1       Pharmacy Inc.            Suite 100                                           Inc.                               E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.33    West Campbell            7088 Winchester Circle                              Prysm Capital Fund                 D   2.7
  2       Pharmacy Inc.            Suite 100                                           1, L.P.                            E/F
                                   Boulder, CO 80301
                                                                                                                          G




  2.33    West Campbell            7088 Winchester Circle                              Volition Capital Fund              D   2.10
  3       Pharmacy Inc.            Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




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          Column 1: Codebtor                                                         Column 2: Creditor



  2.33    West Campbell            7088 Winchester Circle                              Volition Capital Fund              D   2.11
  4       Pharmacy Inc.            Suite 100                                           III, L.P.                          E/F
                                   Boulder, CO 80301
                                                                                                                          G




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